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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     MARCIANO PLATA, et al.,                            Case No. 01-cv-01351-JST
                                                        Plaintiffs,
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                                                                                            ORDER SETTING DEADLINE FOR
                                                 v.                                         MANDATORY VACCINATION
                                   9

                                  10     GAVIN NEWSOM, et al.,
                                                        Defendants.
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                                  13          On September 27, 2021, the Court ordered mandatory vaccination of certain persons and

                                  14   required Defendants and the Receiver to submit an implementation plan, including a deadline by

                                  15   which all covered persons must be vaccinated, by October 12, 2021. ECF No. 3684. Defendants

                                  16   and the Receiver jointly filed the required plan with a deadline for covered persons to be fully

                                  17   vaccinated by November 29, 2021. ECF No. 3694. Defendants subsequently indicated some

                                  18   confusion over whether the deadline was as stated in the filed plan, explaining that they had

                                  19   requested a December 20, 2021 deadline to which the Receiver did not agree. ECF No. 3703. The

                                  20   Court ordered Defendants to meet and confer to attempt to resolve any dispute that might exist

                                  21   over the implementation deadline. ECF No. 3705.

                                  22          The Receiver has now requested an order setting a specific implementation deadline. ECF

                                  23   No. 3708. The Court has reviewed the Receiver’s and Plaintiffs’ filings in support of such an

                                  24   order, and Defendants’ and Intervenor California Correctional Peace Officers’ Association’s

                                  25   filings in opposition. ECF Nos. 3707-08, 3710-13, 3720.

                                  26          In light of the compelling public health considerations underlying the vaccination order, as

                                  27   well as the significant passage of time – thirty days since the Court issued its order – without any

                                  28   apparent action aside from the October 12 joint filing of an implementation plan, the Court agrees
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                                   1   with the Receiver that it is appropriate to set a specific vaccination deadline at this time.1 The

                                   2   Court now orders that full vaccination of the persons covered by the September 27, 2021 order

                                   3   occur no later than January 12, 2022.

                                   4          Without deciding whether Defendants are required to meet and confer with CCPOA and

                                   5   other unions, the Court notes that this deadline allows ample time for such meeting and conferring.

                                   6   Defendants contend that they require 60 days to meet and confer with various unions, e.g., ECF

                                   7   No. 3720-1 at 4, and CCPOA has argued that “a minimum period of six weeks . . . before any

                                   8   mandate takes effect” would be appropriate. ECF No. 3669 at 11. In addition, recent orders of the

                                   9   California Department of Public Health have required full vaccination in ten or eleven weeks from

                                  10   the date the mandates have been announced. ECF No. 3663-1 at 260-61 (August 5, 2021 CDPH

                                  11   order requiring first dose of one-dose regimen or second dose of two-dose regimen by

                                  12   September 30, 2021 – eight weeks later2); id. at 270 (August 19, 2021 CDPH order requiring first
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                                  13   dose of one-dose regimen or second dose of two-dose regimen by October 14, 2021 – again, eight

                                  14   weeks later); CDPH, Order of the State Public Health Officer re: Adult Care Facilities and Direct

                                  15   Care Worker Vaccine Requirement, https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/

                                  16   COVID-19/Order-of-the-State-Public-Health-Officer-Adult-Care-Facilities-and-Direct-Care-

                                  17   Worker-Vaccine-Requirement.aspx (September 28, 2021 CDPH order requiring first dose of one-

                                  18   dose regimen or second dose of two-dose regimen by November 30, 2021 – nine weeks later).

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                                        On October 25, 2021, Defendants filed a motion to stay the Court’s September 27, 2021 order.
                                  25   ECF No. 3715. There has yet been no opportunity to oppose the motion, which the Court will
                                       consider once it is ripe. The Court will discuss a briefing and hearing schedule on Defendants’
                                  26   motion to stay at tomorrow’s case management conference.
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                                  27    A person is considered fully vaccinated two weeks after receiving either of these doses. CDPH,
                                       Order of the State Public Health Officer re: Health Care Worker Protections in High-Risk
                                  28   Settings (July 26, 2021), https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/COVID-19/Order-
                                       of-the-State-Public-Health-Officer-Unvaccinated-Workers-In-High-Risk-Settings.aspx.
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                                   1   A January 12, 2022 deadline is eleven weeks from the date of this order, and more than fifteen

                                   2   weeks since the Court ordered mandatory vaccination on September 27, 2021.

                                   3          IT IS SO ORDERED.

                                   4   Dated: October 27, 2021
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                                   5
                                                                                                    JON S. TIGAR
                                   6                                                          United States District Judge

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